                  Case 3:23-cv-04859-JD Document 9 Filed 11/21/23 Page 1 of 12



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 4
     San Francisco, California 94104
 5   Telephone: (415) 490-9000
     Facsimile: (415) 490-9001
 6
     Attorneys for Defendant
 7   Matson Navigation Company, Inc.,
     erroneously sued as “Matson Navigation Co.”
 8
                                     UNITED STATES DISTRICT COURT
 9
                                   NORTHERN DISTRICT OF CALIFORNIA
10

11
     DANIEL B. MARTIN                                  CASE NO.: 3:23-cv-04859-JD
12
                     Plaintiff,                        REQUEST FOR JUDICIAL NOTICE IN
13                                                     SUPPORT OF DEFENDANT MATSON
             v.                                        NAVIGATION COMPANY, INC.’S MOTION
14                                                     TO DISMISS
15   MASTERS, MATES & PILOTS; and                      DATE:     January 11, 2024
                                                       TIME:     10:00 a.m.
16   MATSON NAVIGATION CO.,                            CTRM:     11
                                                       JUDGE:    Hon. James Donato
17                   Defendants.
                                                       Complaint Filed: September 22, 2023
18                                                     Trial Date:      None Set
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                                   REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                                    DEFENDANT MATSON’S MOTION TO DISMISS
     FP 48745075.3
                  Case 3:23-cv-04859-JD Document 9 Filed 11/21/23 Page 2 of 12



 1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 2           Defendant Matson Navigation Company, Inc., (erroneously sued as Matson Navigation Co.)

 3   (“Matson”) respectfully requests that this Court take judicial notice of certain documents that are either

 4   in the public record and not subject to reasonable dispute, or else are relied upon or incorporated by

 5   reference in Plaintiff’s Complaint.

 6   I.      LEGAL STANDARD

 7           In the context of a Rule 12(b)(6) motion to dismiss, the Court may consider (1) documents and

 8   information subject to judicial notice; and (2) documents attached to or incorporated by reference into

 9   the complaint. See Marder v. Lopez, 450 F.3d 445, 448 (9th Cir. 2006); see Coto Settlement v. Eisenberg,

10   593 F.3d 1031, 1038 (9th Cir. 2010); Intri-Plex Tech., Inc. v. Crest Grp., Inc., 499 F.3d 1048, 1052 (9th

11   Cir. 2007). “Judicial notice under Rule 201 permits a court to notice an adjudicative fact if it is ‘not

12   subject to reasonable dispute.’” Khoja v. Orexigen Therapeutics, Inc., 899 F.3d 988, 999 (9th Cir. 2018)

13   (quoting Fed. R. Evid. 201(b)). A fact is “not subject to reasonable dispute” if it is “generally known,”

14   or “can be accurately and readily determined from sources whose accuracy cannot reasonably be

15   questioned.” Fed. R. Evid. 201(b)(1)-(2).

16           A.      Documents and Information Subject to Judicial Notice

17                   1.     Public Records

18           Courts have held that records from government and/or administrative agencies are the proper

19   subject of judicial notice because they are public records whose accuracy is not in dispute. Anderson v.

20   Holder, 673 F.3d 1089, 1094 n. 1 (9th Cir.2012) (“[A court] may take judicial notice of records and

21   reports of administrative bodies.”); Gonzales v. Marriott International, Inc., 142 F.Supp.3d 961, 968

22   (2015) (“Judicial notice is appropriate for records and ‘reports of administrative bodies’”); Dornell v.

23   City of San Mateo, 19 F.Supp.3d 900, 904 n. 3 (N.D. Cal. 2013) (taking judicial notice of the EEOC

24   charge and right-to-sue letter, reasoning that “these are public records whose accuracy is not in dispute,

25   judicial notice is appropriate”); see also Rejoice! Coffee Company, LLC. V. Hartford Financial Services

26   Group, Inc., 2021 WL 5879118, at *12 (N.D. Cal. Dec. 9, 2021) (taking judicial notice of the

27   governmental agency generated documents, reasoning that “there is no dispute that these are authentic

28   documents of a government agency publicly available”).
                                                     2
                                 REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                                  DEFENDANT MATSON’S MOTION TO DISMISS
     FP 48745075.3
                  Case 3:23-cv-04859-JD Document 9 Filed 11/21/23 Page 3 of 12



 1                   2.     Documents Attached to, or Referenced in the Complaint

 2           Documents are properly incorporated into the complaint by reference “in situations where the

 3   complaint necessarily relies upon a document or the contents of the document are alleged in a complaint,

 4   the document’s authenticity is not in question and there are no disputed issues as to the document’s

 5   relevance.” Coto Settlement, 593 F.3d at 1038; see also United States v. Ritchie, 342 F.3d 903, 908 (9th

 6   Cir. 2003) (“Even if a document is not attached to a complaint, it may be incorporated by reference into

 7   a complaint if the plaintiff refers extensively to the document or the document forms the basis of the

 8   plaintiff's claim.”). “[I]ncorporation-by-reference is a judicially created doctrine that treats certain

 9   documents as though they are part of the complaint itself. The doctrine prevents plaintiffs from selecting

10   only portions of documents that support their claims, while omitting portions of those very documents

11   that weaken—or doom—their claims.” Khoja, 899 F.3d at 1002. The Court “may assume [an

12   incorporated document’s] contents are true for purposes of a motion to dismiss under Rule 12(b)(6).”

13   Marder, 450 F.3d at 448; see also Guilfoyle, 2021 WL 4594780, at *23–24 (school district’s COVID-

14   19 measures incorporated by reference, noting that doctrine “prevents plaintiffs from cherry-picking

15   certain portions of documents that support their claims, while omitting portions that weaken their

16   claims”).

17   II.     REQUEST FOR JUDICIAL NOTICE

18           Based on the foregoing authorities, Matson respectfully requests that the Court take judicial

19   notice of the following documents:

20                                         Incorporated by Reference

21           1.      Matson’s COVID-19 Vaccination Policy, entitled “Letter of Understanding – COVID-

22   19 Vaccination,” a true and correct copy of which is attached to the Declaration of Danny Defanti, as

23   Exhibit A. Plaintiff’s entire Complaint is predicated on Matson’s implementation of its COVID-19

24   vaccination requirements, and he makes direct reference to the offering of religious exemptions to this

25   policy. See Compl., ¶¶ 16, 17. Because Matson’s COVID-19 Vaccination Policy is extensively

26   referenced throughout the Complaint and forms the basis for Plaintiff’s claims, the policy is properly

27   incorporated by reference into the Complaint. Accordingly, under the foregoing authorities cited in

28   section I.A.2 above, the Court should consider this policy incorporated by reference in the Complaint.
                                                     3
                                 REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                                  DEFENDANT MATSON’S MOTION TO DISMISS
     FP 48745075.3
                  Case 3:23-cv-04859-JD Document 9 Filed 11/21/23 Page 4 of 12



 1           2.      Documents relating to Plaintiff’s Religious Exemption Request and Matson’s

 2   Interactive Process, true and correct copies of which are attached to the Declaration of Danny Defanti,

 3   as Exhibits B-E. The Complaint and Exhibits A and B attached thereto make direct reference to

 4   Plaintiff’s religious exemption requests. Compl., ¶¶ 5, 18, 19, Exs. A, B to Compl. Further, even if not

 5   all of these religious exemption documents are attached to the Complaint, under the foregoing authorities

 6   cited in section I.A.2 above, they may be incorporated by reference into the Complaint because Plaintiff

 7   refers extensively to these religious exemption documents and/or these documents form the basis of

 8   Plaintiff's entire Complaint. Accordingly, the Court should consider these religious-exemption-related

 9   documents incorporated by reference in the Complaint.

10                                               Public Records

11           3.      Plaintiff’s EEOC Charge and Right to Sue Letter, a true and correct copy of which is

12   attached hereto as Exhibit 1. See Dornell, 19 F.Supp.3d at 904 n. 3 (taking judicial notice of the EEOC

13   charge and right-to-sue letter, reasoning that “these are public records whose accuracy is not in dispute,

14   judicial notice is appropriate”); see also Anderson, 673 F.3d at 1094 n. 1 (“[A court] may take judicial

15   notice of records and reports of administrative bodies.”).

16

17   DATE: November 21, 2023                     FISHER & PHILLIPS LLP

18
                                           By: /Jason A. Geller
19                                             Jason A. Geller
                                               Hyunki (John) Jung
20                                             Attorneys for Defendant
                                               Matson Navigation Company, Inc. (erroneously
21                                             named as Matson Navigation Co.)
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                                 REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                                  DEFENDANT MATSON’S MOTION TO DISMISS
     FP 48745075.3
Case 3:23-cv-04859-JD Document 9 Filed 11/21/23 Page 5 of 12




               Exhibit 1
                          Case 3:23-cv-04859-JD Document 9 Filed 11/21/23 Page 6 of 12
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                      CHnnCe oF DIScRIMINATION                                                              Chargo Presented      To:             Agency(ies) Charge No(s):
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555 12TH ST STE 700
OAKIAND, CA 94607
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  above-named employer for approxlmalely 20 years, as assigned from the contractor locatlon ln
  Oakland, Callfornla.

 On or around Seplember 2021,1was notilied by Respondent that effiectlve October 1,2021 all
 employees would be required to be vacclnated, unlesg the employee had a rellglous or medical
 exemptlon. I sincerely hold a religious bellef that conflicts wlth Respondenfs vacclnation
 requlrement During my employment I notifled Respondent of my religlous belief and my need fior an
 exemptlon to Respondenfs COVID-l9 vacclnatlon mandate. On October 15, 2021, my rellgious
 exemptlon was denled by Respondent On December 22,2021,1filed two unlon grievances wlth
 lnternational Organlzatlon of Masters, Mates & Pllots and submltted them to Melany Weaver,
 unknown rellglon, Paclllc Ports Coast Agent On February 14,2022, J. Lars Turner, unknown
 rellqlon. Vice President of Pacific Por8. resoonded to my srlevances stating that it wlll not purcue
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                         Case 3:23-cv-04859-JD Document 9 Filed 11/21/23 Page 7 of 12
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                      CHARGE OF DIscRIMINATION                                                      Charge Presented To:       Agency(ies)Charge No(s):
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             Case 3:23-cv-04859-JD Document 9 Filed 11/21/23 Page 8 of 12
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PRIVACY AcT STATEMENT: Underthe Privacy Act of1974,Pub.Law 93‑579,authority to request
personal data and its uses are:

1.   FoRM NuMBER灯 iTLE′ DATEo EEOC Fom 5,Charge of Discrirninatton(11′ 09)。

2.   AuTHoR]TY. 42 UoS.C.2000e‐ 5(b),29U.S,C.211,29U.S.C.626,42 UoS.C.12117,42 UoS,C.2000fF‐          6.


3.  PRINCIPAL PURPOSES. The puttoses ofa charge,taken on this ibrrn or othewise reduced to
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discttminatton statutes(EEOC statutes),to preseⅣ e pnvate suК ttghts underthe EEOC statutes,
to invoke the EEOCisiunsdictiOn and,where dua卜 編ling or referral arrangements existito begin
state oriocal proceedings.

4.  RouTINE USES. This f6rrn is used to provide iacts that may establish the existence of matters
covered by the EEOC statutes(and aS applicable,other federal,state oriocallaws)。 infOrmadon
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or disclosed to other federal,state orlocal agencies as appropriate or necessary in carrying out
EEOC's functions. メ   ヽcopy ofthis charge wiII ordinarily be sentto the respondent organization
against which the charge is rnade.

5.   WHETHER DiscLoSuREIS MANDATORY;EFFECT OF NoT(3iⅥ NG]NFORMATiONo Charges must be
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resolution of the rnatter. Then,if you wish EEOC to give Substantiai VVeight Review to the FEPA:s
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lawsuit concerning this charge. Under Sectton 704(a)Of Tiue v‖ ,section 4(d)ofthe ADEA,
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exercising or eniOying,or aiding or encouraging others in their exercise or enioyment of,rights
underthe Act.
           Case 3:23-cv-04859-JD Document 9 Filed 11/21/23 Page 9 of 12


        U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                      San Jose Local Office
                                                                                     96 N Third St, Suite 250
                                                                                         San Jose, CA 95112
                                                                                      Office: (408) 889-1950
                                                                                    Email:sanjgov@eeoc.gov
                                                                                    Website: www.eeoc.gov


                  DETERMINATION AND NOTICE OF RIGHTS
                       (This Notice replaces EEOC FORMS 161 & 161-A)

                                   Issued On: February 13, 2023
To: Daniel B. Martin
    1075 Lighthouse Avenue, #116
    Pacific Grove, CA 93950
                                                                       Charge No: 556-2022-00432
EEOC Representative and email:       LISA FUNG
                                     Senior Investigator
                                     lisa.fung@eeoc.gov


                               DETERMINATION OF CHARGE

The EEOC issues the following determination: The EEOC will not proceed further with its
investigation and makes no determination about whether further investigation would establish
violations of the statute. This does not mean the claims have no merit. This determination does not
certify that the respondent is in compliance with the statutes. The EEOC makes no finding as to
the merits of any other issues that might be construed as having been raised by this charge.

                              NOTICE OF YOUR RIGHT TO SUE

This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
Receipt generally occurs on the date that you (or your representative) view this document. You
should keep a record of the date you received this notice. Your right to sue based on this charge
will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a lawsuit
based on a claim under state law may be different.)
If you file suit, based on this charge, please send a copy of your court complaint to this office.

                                               On behalf of the Commission,




                                               Margaret Ly
                                               Local Director
           Case 3:23-cv-04859-JD Document 9 Filed 11/21/23 Page 10 of 12


Cc:
Nathan R Jaskowiak
Matson Navigation Company
555 12TH ST STE 700
Oakland, CA 94607



Please retain this notice for your records.
              Case 3:23-cv-04859-JD Document 9 Filed 11/21/23 Page 11 of 12
Enclosure with EEOC Notice of Closure and Rights (01/22)




                               INFORMATION RELATED TO FILING SUIT
                              UNDER THE LAWS ENFORCED BY THE EEOC
 (This information relates to filing suit in Federal or State court under Federal law. If you also
plan to sue claiming violations of State law, please be aware that time limits may be shorter and
           other provisions of State law may be different than those described below.)

IMPORTANT TIME LIMITS 90 DAYS TO FILE A LAWSUIT
If you choose to file a lawsuit against the respondent(s) named in the charge of discrimination,
you must file a complaint in court within 90 days of the date you receive this Notice. Receipt
generally means the date when you (or your representative) opened this email or mail. You should
keep a record of the date you received this notice. Once this 90-day period has passed, your
right to sue based on the charge referred to in this Notice will be lost. If you intend to consult an
attorney, you should do so promptly. Give your attorney a copy of this Notice, and the record of
your receiving it (email or envelope).
If your lawsuit includes a claim under the Equal Pay Act (EPA), you must file your complaint
in court within 2 years (3 years for willful violations) of the date you did not receive equal pay.
This time limit for filing an EPA lawsuit is separate from the 90-day filing period under Title
VII, the ADA, GINA or the ADEA referred to above. Therefore, if you also plan to sue under
Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA claim, your lawsuit
must be filed within 90 days of this Notice and within the 2- or 3-year EPA period.
Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction.
Whether you file in Federal or State court is a matter for you to decide after talking to your
attorney. You must file a "complaint" that contains a short statement of the facts of your case
which shows that you are entitled to relief. Filing this Notice is not enough. For more information
about filing a lawsuit, go to https://www.eeoc.gov/employees/lawsuit.cfm.
ATTORNEY REPRESENTATION
For information about locating an attorney to represent you, go to:
https://www.eeoc.gov/employees/lawsuit.cfm.
In very limited circumstances, a U.S. District Court may appoint an attorney to represent individuals
who demonstrate that they are financially unable to afford an attorney.

HOW TO REQUEST YOUR CHARGE FILE AND 90-DAY TIME LIMIT FOR REQUESTS
There are two ways to request a charge file: 1) a FOIA Request or 2) a Section 83 request. You may
request your charge file under either or both procedures. EEOC can generally respond to Section 83
requests more promptly than FOIA requests.
Since a lawsuit must be filed within 90 days of this notice, please submit your request for the charge
file promptly to allow sufficient time for EEOC to respond and for your review. Submit a signed
                                                                            for Charge Number 556-
2022-00432 to the District Director at Nancy Sienko, 450 Golden Gate Avenue 5 West PO Box
36025, San Francisco, CA 94102.
You can also make a FOIA request online at https://eeoc.arkcase.com/foia/portal/login.
              Case 3:23-cv-04859-JD Document 9 Filed 11/21/23 Page 12 of 12
Enclosure with EEOC Notice of Closure and Rights (01/22)



You may request the charge file up to 90 days after receiving this Notice of Right to Sue. After the
90 days have passed, you may request the charge file only if you have filed a lawsuit in court and
provide a copy of the court complaint to EEOC.
For more information on submitting FOIA Requests and Section 83 Requests, go to:
https://www.eeoc.gov/eeoc/foia/index.cfm.
